|Case 1:18-cr-00567-VSB Document 200 Filed 03/27/21 Page 1 of 25

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Case 1:18-cr-00567-VSB Document 200 Filed 03/27/21 Page 2 of 25

January 29, 2020

Honorable Katherine Polk Failla

United States Courthouse, Courtroom 618
40 Foley Square

New York, NY 10007

Re: SEC vs. Christopher Collins, et al.
Case No, 1:18-cr-00567-VSB

Dear Judge Failla:

I am writing to provide you with information that you may wish to consider in
determining Chris Collins’ sentence.

L served for over 31 years as an attorney with the SEC; 18 years in the Division of
Enforcement, and 13 years in the Division of Corporation Finance. I negotiated a
number of settlements with insider traders on behalf of the SEC during my time in
Enforcement. During that time, I also guest-lectured on insider trading for several
years at Georgetown University’s McDonough School of Business,

[ have enclosed an initial draft of an Op-Ed piece I wrote about Congressman
Collins’ unusually sweet settlement deal with the SEC. I have also enclosed a
finalized copy of my Op-Ed as it was published by the New York Daily News.
The reason I am enclosing the initial draft is because it contains a more extensive
summary of the background research I did on this matter. [ thought it might be
helpful, based upon my knowledge, experience, and research, if 1 brought this to
your attention. |

Finally, I am enclosing an SEC Litigation Release published earlier this month that
gives you some idea of how outside the norm the Collins settlement really is. For
my Op-Ed piece, I reviewed the SEC’s 667 SEC Litigation Releases published in
2018 and 2019. As of today, the Litigation Release enclosed (SEC vs. Robert O.
Car and Katherine M. Hanratty, Lit. Rel. No. 24713, Jan. 12, 2020) is the most
recent release addressing insider trading. As you will read, the CEO-tipper did not
purchase or sell securities, but his girlfriend-tippee did. Nonetheless, each of the
defendants was required to pay a penalty of $250,628, which was the amount of

 
Case 1:18-cr-00567-VSB Document 200 Filed 03/27/21 Page 3 of 25

disgorgement. In the Collins matter, the SEC determined that Chris Collins, his
son, and the father of the son’s girlfriend should not pay any penalties at all!

I'd also like to highlight two additional points for your consideration. First, when
the SEC initially filed its complaint against Chris Collins and four co-defendants in
August 2018, it sought penalties from all of them. When two of the tippees settled
with the SEC later that month (the girlfriend of Collins’ son and her mother) both
were required to pay penalties. One wonders why the two women defendants were
required to pay penalties then, and the three male defendants are not being required
to pay any penalties now.

Also, the decision not to impose penalties on Collins and his two co-defendants,
and to relieve Collins of any disgorgement obligation whatsoever, would not have
been made by the SEC staff; as you are likely aware, the SEC staff does not have
that authority. That decision could only have been made by the Chairman and the
four Commissioners at the top of the SEC, three of whom are Republicans, and all
of whom were appointed by President Trump.

[ spent my career with the SEC endeavoring to protect investors, and I deeply
cared about what I did. I think that the people of New York, and investors
everywhere, deserve better in the Collins case. Our elected officials should
maintain the highest ethical and moral standards, and if they effectively steal from
other investors, they should be punished accordingly.

Respectfully,

bw A Bit

John Y. Britt

    
Case 1:18-cr-00567-VSB Document 200 Filed 03/27/21 Page 4 of 25

Rep. Chris Collins’ Unusually Sweet Settlement Deal With the SEC

Chris Collins was the first Congressman to endorse Donald Trump for President in
2016, and the first Congressman to be busted by the SEC and DOJ for insider
trading committed while standing on the White House lawn. Why is he being
given preferential treatment by the SEC?

Collins, a three-term Congressman, was a director and the largest shareholder of a
small Australian biotech company that is publicly traded in the U. S. On the
evening of June 22, 2017, Collins called his son from the White House lawn and
tipped him about “extremely bad news” (per the SEC’s Complaint) that he’d just
received about the company that was not yet public. His son then dumped his
stock in the company, as did the son’s friend, girlfriend, the girlfriend’s father and
mother, a friend of the girlfriend’s father, and the girlfriend’s uncle. They avoided
significant losses when the bad news became public and the company’s stock
dropped over 90% in value.

Insider trading is not a victimless crime. The perpetrator is literally stealing from
other investors who didn’t know the non-public information the thief knew when
he bought or sold the company’s stock. The Department of Justice can bring
criminal charges for insider trading and put the fraudster in prison, but the SEC has
authority only to go after an insider trader in a civil action in federal court.
Consequently, the DOJ and the SEC often bring what are known as “parallel
proceedings.”

In insider trading cases, the SEC almost always seeks penalties as part of the relief
requested, and that’s what the SEC did initially with Collins and four of the tippees
back in August 2018. In fact, when the SEC announced a few days later that it had
settled with two of the tippees (the girlfriend of Collins’ son and her mother), each
woman was required to pay disgorgement and prejudgment interest, PLUS a one-
time penalty.

In August, 2019, the SEC announced that it had settled with Collins, his son, and
the girlfriend’s father, Having successfully negotiated several insider trading
settlements with individual defendants during my 31 years as an attorney with the
SEC, I was surprised when I read the SEC’s Litigation Release announcing the
settlement terms the Commission (the five political appointees who run the SEC)
had approved for Collins and the other two defendants.

 
Case 1:18-cr-00567-VSB Document 200 Filed 03/27/21 Page 5 of 25

In insider trading cases, wrongdoers who settle with the SEC are generally required
to disgorge the profit they made from their stock trades (or as is the case here, the
loss they avoided), plus prejudgment interest, plus a penalty equal to one time the
disgorgement amount. However, if the SEC has to litigate, it will seek a penalty of
as much as three times the disgorgement amount; the one-time penalty is the
sweetener the thief gets if he settles before trial. That is standard SEC
Enforcement policy, and every attorney in the securities defense bar knows it. Yet,
surprisingly, Collins and the two defendants who are settling with him aren’t being
required to pay any penalties at all!

Moreover, in tipper-tippee insider trading cases, a tipper (here, Collins) is often on
the hook along with the tippees for the total amount of ill-gotten gains plus pre-
judgment interest on that amount—in this instance, $794,179. It doesn’t matter if
the tipper traded stock or not; he’s also liable. I actually negotiated a settlement in
an insider case like that against a Hollywood producer who had tipped his brother,
but had not himself traded.

That didn’t happen here. Collins doesn’t have to pay anything; no disgorgement,
no pre-judgement interest, and no penalty. Whereas Collins and the two
defendants should be collectively on the hook for over $1.5 million, at a minimum,
Collins walks away owing nothing, and the other two thieves walk away without
paying any penalties.

Curious as to whether the SEC Enforcement policy concerning insider trading
settlements has recently changed, I reviewed the agency’s 677 Litigation Releases
published in 2018 and 2019. Of the 86 Releases I found that concerned or
involved insider trading, I noted 44 instances where settling defendants were .
required to pay civil penalties, and 23 instances that did not involve settlement.
The remaining 19 Releases concerned parallel criminal cases brought by DOJ, and
any disgorgement and SEC civil penalties were generally offset by the monetary
judgments imposed in the criminal case.

Here, Collins and his two co-defendants not only settled with the SEC, but also
pleaded guilty in the parallel criminal case. However, during the October 2019
hearing where Collins entered his criminal guilty plea, the Assistant U.S. Attorney
told the presiding judge that DOJ would not be seeking any restitution or forfeiture
from the three men. Therefore, it was completely left up to the SEC to go after the
money. It dropped the ball.

All this raises some interesting questions:

 
Case 1:18-cr-00567-VSB Document 200 Filed 03/27/21 Page 6 of 25

1. Why aren’t Collins and his two co-defendants being required by the SEC to
pay civil penalties?

2. Why isn’t Collins jointly and severally liable with his co-defendants for
disgorgement of the losses they avoided, plus pre-judgment interest?

3. Why isn’t DOJ seeking restitution or forfeiture?

The SEC has a long history of going hard after high-visibility insider traders, such
as Martha Stewart. It does this because it doesn’t have the resources to go after
every insider trader, and it wants to set an example for others who might be
tempted to commit securities fraud.

As a Congressman, Chris Collins is about as high-visibility as an insider trader can
be. So why is he being let off relatively lightly? True, he may go to prison—as
Martha Stewart did—and he also agreed to an injunction against future securities
law violations, and a bar from acting as an officer or director of any public
company. However, he’s 69 years old, so the injunction and bar are largely hollow
sanctions.

On January 17th, the judge in the criminal proceeding will announce whether
Collins will go to prison, and, if so, for how long. We should hope that Collins
will receive an appropriate sentence. We should also hope that Collins’ civil
settlement with the SEC, which is still subject to court approval, will be rejected,
and that the SEC will then renegotiate something consistent with its comparable
insider trading settlements.

 
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How Collins avoided a hefty
fine: The crooked congressman
must pay for his financial crime

| By JOHN BRITT
NEW YORK DAILY NEWS | JAN 17,2020 4 5:00 AM

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RECOMMENDED

 

He must not get away with it. (Alec Tabak/for New York Daily
News)

Chris Collins was the first congressman to
endorse Donald Trump for president in 2016,
and the first congressman to be busted by the
Securities and Exchange Commission and
ADVERTISEMENT
Department of Justice for engaging in insider
trading while standing on the White House lawn.
Why does he seem to be getting preferential

treatment by the SEC?

Insider trading is not a victimless crime. The
inside-trader is actually stealing from other
investors who didn’t know the non-public
information he knew when he bought or sold the
company’s stock. The Department of Justice can
sue the trader and put him in prison; the SEC

can sue him only to recover money, and, for

https://www.nydailynews.com/opinion/ny-oped-why-is-chris-collins-getting-off-s0-easy-20200117-qztc6nGpnve3zfdngkewylZuve-story. html Page 2 of 8
How Collins avoided a hefty GaSthelerbokeGle Geral ab palacisiinerttahOGe - Neder WBAMNE Page 9 of 25 1/29/20, 11.41 AM

example, bar him from being an officer or ADVERTISEMENT
director of a public company. Often, both the
DOJ and the SEC sue the inside-trader in what

are known as “parallel proceedings.”

Typically, the SEC goes after the profit made (or,
as here, the loss avoided) by wrongdoers, which
is called “disgorgement,” plus seeks interest on
the money the thief stole, and, by law, a penalty
of up to three times the amount of

disgorgement.

If the inside-trader settles before trial, the SEC
will generally limit the penalty to a one-time
disgorgement amount. However, if the thief
decides to fight, the SEC will seek the maximum
penalty possible.

This is standard policy. Experienced attorneys in ADVERTISEMENT

this field of law know it.

[More Opinion] Trumpism in full flower: A

close look at his New Jersey rally »

When, in August 2018, the SEC sued Collins and
four others — including his son, who Collins

tipped, and who then tipped the other three — it
officially sought penalties. In fact, when the SEC

https://www.nydallynews.com/opinion/ny-oped-why-is-chris-coltins-getting- off-so-easy-20200117-qztc6népnveazidngkcwyi2uve-story. html Page 3 of 8
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announced a few days later that it had settled ADVERTISEMENT
with two of the tippees, they had to pay

disgorgement, interest and a one-time penalty.

Over a year later, the SEC announced that it had
settled with Collins and the two tippees. Having
negotiated several settlements with inside-
traders during my 31 years as an attorney with
the SEC, I was surprised when the SEC
announced the settlement terms. Collins and the
two tippees aren’t being required to pay any

penalties at all.

If Collins, like other tippers, were on the hook for
the total amount of disgorgement, plus interest,
it would add up to, by my calculations, $794,179
(the three thieves should be collectively on the
hook for at least $1.5 million). Not here. Collins

owes nothing.

[More Opinion] Reject Dermot Shea’s

cynical game on bail reform »

Curious whether the SEC’s policy concerning
insider trading settlements had recently
changed, I reviewed the agency’s Litigation
Releases for 2018 and 2019. I noted 44 instances
in which settling SEC defendants were required

to pay penalties, including some in which the

https://www.nydallynews.com/opinlon/ny-oped-why-is-chris-collins- getting-off-so-easy-20200117- qztc6n6pnvc3zfdngkewyi2uve- story. htm Page 4 0f 8

 
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tipper hadn’t traded but was still on the hook for

money.

The Collins settlement is glaringly different.

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At the October 2019 hearing where Collins
entered his criminal guilty plea, the assistant
U.S. attorney told the judge that DOJ would not
be seeking any money (restitution or forfeiture)
from the three men. It was left up to the SEC,
which dropped the ball.

https://www.nydailynews.com/opinion/ny-oped-why-is-chris-collins-getting-off-so-easy-20200117-qztc6n6pnvc3zidngkewyl2uve-story. him!

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MOST READ

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very hard ‘to pull it together for the
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video, says chopper was in ‘steep
descent at high speed’ before crash

 

Why isn’t the SEC requiring Collins and the two
tippees to pay civil penalties? Why isn’t Collins
jointly and severally liable with the tippees for

disgorgement and pre-judgment interest? Why

isn’t the DOJ seeking any money?

The SEC has a long history of going hard after
high-visibility insider traders, such as Martha
Stewart, to deter others. As a congressman, Chris

Collins is about as high-visibility as an inside-

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Page 6 of 8

 
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trader can be. True, he may go to prison — as
Stewart did — and he is enjoined from future
insider trading, and barred from acting as an

officer or director of any public company.

But he’s 69 years old, so the injunction and bar
are largely meaningless. Why is he off the hook

for the money?

On Jan. 17, the judge in the criminal case will
sentence Collins. Separately, let’s hope the civil
court rejects his SEC settlement, forcing the SEC
to go back and do what it should have in the first

place.

[More Opinion| ‘The age of haters: Our
politics and culture need to break free of

resentment »

Britt served for over 31 years as an attorney with
the SEC, including 18 years in the Division of
Enforcement and 13 years in the Division of

Corporation Finance.

 

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SEC Obtains Judgment Against Former
CEO in Insider Trading Case

Litigation Release No. 24713 / January 13 2020

Securities and Exchange Commission v. Robert O. Carr
and Katherine M. Hanratty, No. 3:18-cv-01135 (D. Conn.
filed July 10, 2018)

The U.S, District Court for the District of Connecticut entered a judgment against Robert O.
Carr, a resident of New London, New Hampshire, and the former CEO of Heartland Payment
Systems, inc., fer his role in an insider trading scheme. The court ordered Carr to to pay a
civil penalty of $250,628 and barred him from serving as an officer or director of a public
company for two years.

According to the SEC's complaint, filed on July 10, 2018, Carr provided his longtime
girlfriend, Katherine M. Hanratty, with confidential information about a potential acquisition
of Heartland by another payment processing company. As alleged, in the weeks leading up
to the merger announcement, Carr gave Hanratty $1 million to open a brokerage account,
which she used to purchase Heartland stock. The complaint alleged that Hanratty opened
the account with Carr's knowledge, made Carr the beneficiary of the account, and purchased
more than 11,000 shares of Heartland stock. After the merger was announced, Heartland's
stock price rose substantially, and Hanratty sought Carr's advice about when to sell the
stock. Hanratty ultimately liquidated her entire position in a single day, for profits of more
than $250,000.

On May 10, 2019, the court entered a pretiminary judgment by consent, permanently
enjoining Carr from violating the antifraud provisions of Section 10(b) of the Securities
Exchange Act of 1934 and Rule 10b-5 thereunder, and ordering him to pay a civil penalty of
$250,628. On January 10, 2020, the court issued an order barring Carr from serving as an
officer or director of a public company for two years.

The court previously entered a judgment by consent against Hanratty, permanently
enjoining her fram future violations of the same provisions as Carr and ordering her to pay
$250,628 in disgorgement, $27,351 in prejudgment interest, and a $250,628 civil penalty.

Modihed: January 13, 2020

 

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January 15, 2020

Hon. Vernon 8. Broderick
Federal District Court

40 Foley Square

New York, New York

I hope that the sentence for Chris Collins will be the maximum. He stayed
in the 2018 election proclaiming his innocence even though he knew he was
guilty. We have had no representation in Congress during the critical tme
period, Please demonstrate that we have a fair justice system for everyone,
not one for the rich and another standard for the poor. Letters from his rich
and influential friends should not be the determining factor in this case. Mr.
Collins knew he was breaking the law and should pay the full price for this.

Sincerely yours,
Ohic oo | Af? WAS
Christine Perkins

Defrauded citizen of NY-27
Case 1:18-cr-00567-VSB Document 200 Filed 03/27/21 Page 17 of 25

 

January 12, 2020

Hon. Vernon S. Broderick
Thurgood Marshall
United States Courthouse
40 Foley Square

New York, NY 10007

RE. Sentencing of former Representative Chris Collins
Honorable Judge Broderick;

We are not from former Representative Chris Collin’s district but we are from former
Representative Louise Slaughter’s district (representing parts of the Rochester area).

Rep. Slaughter sponsored the STOCK Act, considered "the most important ethics bill in
a generation, to ban insider trading by federal officials." The act prohibits members of
Congress and their staffers from trading on information they receive during the course
of their duties. The act has now been renamed in her honor.
(hitos://www.democratandchronicle.com/story/news/2018/09/28/house-moves-rename-
stock-act-slaughter/1458029002/}

Former Rep. Collins referred to Representative Slaughter as a “despicable human
being” when she initiated a probe into his investment dealings, the same dealings for
which he has now pled guilty. The link detailing his response is described in the
attached link

httos://www.rollcall.com/news/politics/collins-slams-slaughter-as-a-despicable-human-
being-for-ethics-review

His response to her accusations is a mirror into his character.

While we know you have received a number of letters of support for a reduced
sentence, we argue STRONGLY against any leniency. His behavior is a flagrant
violation of the law and disrespectful of the office to which he was elected.

Thank you for your consideration.
Sincerely,

Afin Doviet and Guy Martin
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January 9, 2020

Hon. Vernon S. Broderick
United States District Judge
40 Foley Square

New York, NY 10007

Re: U.S. v. Christopher C. Collins
18 Cr. 567

Dear Judge Broderick:

| must add my voice to the list of those recommending a harsh sentence for
(former) Rep. Chris Collins. | have tived in his district, and near his home for the
entire period he served as Erie County Executive and Congressman. | am a life-
long Democrat and have always voted against him and held him under wary
scrutiny at all times, i freely admit.

However, his attitudes and politics, though disgusting to me, are not the issue
here. The issue is a crime for which others should and do receive a much greater
sentence. It is a crime committed brazenly by a person of vast wealth by any
measure. It speaks of a greed so unnecessary and so arrogant that it becomes
difficult to envision any sorrow on the defendant’s part except the nerve of
society to catch and punish him.

While | would certainly wish him to suffer for the injustices he inflicted on
others, for the “stealing” of a district from Kathy Hochul, for the way he “bought”
his office by self-financing his campaign (after the County of Erie voters broke
precedent by voting him out as an incumbent), | simply ask that his sentence
reflect an act of absolute criminality in that it was unnecessary, premeditated,
and that he lied from a position of public trust which shows no remorse as it
further distorts the needs of the people he was hired to serve.

Respectfully, few i fli

Richard Rockford

 
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Case 1:18-cr-00567-VSB Document 200 Filed 03/27/21 Page 21 of 25

 

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Robert M. Titran

January 13, 2020

Hon. Vernon S, Broderick

United States District Judge

Southern District of New York

Thurgood Marshall United States Courthouse
New York, NY 10007

Re: U.S. v. Christopher C. Collins
Dear Judge Broderick,

lam writing to you to simply add my voice to the many others urging you to sentence Chris Collins to the
maximum extent allowable under federal guidelines. Collins knew what he was doing was wrong yet
continued to lie about it until his only available option was to admit guilt. He was under scrutiny for a
long time, and had literally years to correct his crooked ways and change course. He chose not to, By
sentencing Collins to the maximum extent possible, a clear message will be sent to other politicians and
power brokers who seek to enrich themselves illegally.

Thank you for your consideration,

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Robert M. Titran
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Saturday, January 11th, 2020

Hon. Vernon §. Broderick

United States District Judge

United States District Court

Southern District of New York

Thurgood Marshall United States Courthouse
AQ Foley Square

New York, NY 10007

Re: U.S. v. Christopher C. Collins, 18 Cr. 567

Dear Judge Broderick:

We, the Buffalo Chapter of the National Lawyers Guild, are writing to urge you to impose the
maximum possible sentence on Mr. Collins. As members of the Western New York constituency,
dedicated to the rule of law and good government, we decry Mr, Collins’ blatant disregard of his legal
and ethical obligations for his own enrichment. Former Congressman Collins violated the public's trust
and must be held accountable for his actions. Imposing the maximum sentence on him will serve as a
warning to other public officeholders. As New Yorkers, we are acutely aware of the breach of trust
exhibited by former public officeholders Dean Skelos and Sheldon Silver, among others. We cannot
stress enough the importance of deterring this type of conduct, which disgraces us all and undermines
the public trust in our democratic form of government.

Sincerely,

   

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“Anna Marie Richmond, Esq.; John N. Lipsitz, Esq.; Joseph Kelemen, Esq.; Drew Gee

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‘The Buffalo Chapter of the National Lawyers Guild

  
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